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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ALLSTATE INSURNACE COPMANY and,                        §
ALLSTATE LIFE INSURANCE COMPANY,                       §    Case No. 1:17 CV 5826
                                                       §
               Plaintiffs,                             §
                                                       §
         v.                                            §    Hon. Steven C. Seeger
                                                       §
AMERIPRISE FINANCIAL SERVICES, LLP,                    §
                                                       §
               Defendant.                              §

                MOTION FOR LEAVE TO SUBSTITUTE COUNSEL AND
                  TO WITHDRAW AS COUNSEL FOR PLAINTIFFS

         Now come Kristine R. Argentine and Robyn Marsh of the law firm Seyfarth Shaw LLP,

(collectively, “Counsel”), as counsel of record for Plaintiffs Allstate Insurance Company and

Allstate Life Insurance Company, (collectively, “Plaintiffs”), and move this Court for leave to

substitute new counsel, and for Counsel to withdraw their appearance as counsel, for Plaintiffs in

the above-captioned action and any subsequent proceedings related thereto. In support thereof,

Counsel state as follows:

         1.    Counsel has represented Plaintiffs in the above-captioned action since

commencement of this action.

         2.    Plaintiffs recently retained attorneys J. Scott Humphrey and Kate Watson Moss of

the law firm Benesch Friedlander Coplan and Aronoff, LLP, to represent Plaintiffs in all matters

relating to the above-captioned action.

         3.    Pursuant to Local Rule 83.17 of the United States District Court for the Northern

District of Illinois, an attorney of record in a proceeding in which the appearance was filed may

not withdraw without first obtaining leave of Court.




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        4.      Pursuant to Local Rule 83.17, Counsel hereby seeks leave to: (a) substitute

attorneys J. Scott Humphrey and Kate Watson Moss and the law firm Benesch Friedlander

Coplan and Aronoff as counsel of record for Plaintiffs in the above-captioned action; and (2)

permit the withdrawal of Kristine R. Argentine, Robyn Marsh and the law firm Seyfarth Shaw,

LLP as counsel for Plaintiffs in this action.

        5.      Counsel have advised Plaintiffs of their intention to file the subject motion and

have served this motion on Plaintiffs.

        6.      The Court, Plaintiffs, and Defendant will not suffer any prejudice as a result of

Counsel’s withdrawal as counsel of record in this action. Therefore, Counsel have demonstrated

good cause for their withdrawal at this time, and the Court should grant Counsel’s request for

leave to withdraw as counsel of record for Plaintiffs, and to substitute new counsel for Plaintiffs.

        7.      Counsel further request that the Court and Plaintiff serve all future pleadings,

notices, correspondence and other documents directly upon Plaintiffs’ new counsel:

                               J. Scott Humphrey
                               Kate Watson Moss
                               Benesch Friedlander Coplan and Aronoff, LLP
                               71 South Wacker Drive – Suite 1600
                               Chicago, Illinois 60606

        WHEREFORE, Kristine R. Argentine, Robyn Marsh and the law firm Seyfarth Shaw

LLP, respectfully request that the Court enter an order granting them leave to withdraw as

counsel of record for Plaintiffs Allstate Insurance Company and Allstate Life Insurance

Company, to substitute new counsel for Plaintiffs as set forth herein, and for such other relief as

is just and equitable.




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Date: November 4, 2021

                                      Respectfully submitted,

                                      ALLSTATE INSURANCE COMPANY and
                                      ALLSTATE LIFE INSURANCE COMPANY

                                      By: /s/_Kristine R. Argentine_____
                                          One of their attorneys

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                               CERTIFICATE OF SERVICE

       I, Kristine R. Argentine, an attorney, do hereby certify that on November 4, 2021, I

caused a true and correct copy of the foregoing to be served upon all counsel of record via the

Court’s ECF system.

                                           /s/ Kristine R. Argentine
                                           Kristine R. Argentine




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